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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES                                    *
 vs.                                              *   Case No.: 21-15-APM
 THOMAS EDWARD CALDWELL                           *
        *       *      *       *       *      *       *      *         *      *     *

                                              ORDER
        Upon consideration of the Defendant’s Motion to Continue Sentencing, it is hereby
 ordered by the United States District Court for the District of Columbia that the Motion is
 GRANTED and, accordingly, that the sentencing hearing scheduled for April 4, 2024 is hereby
 vacated and a new sentencing date shall be set after July 15, 2024.




        __________________                    ____________________________________
        Date                                  Honorable Amit P. Mehta
                                              United States District Court
